 Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 1 of 14           PageID #: 1




                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE


JOYCE FELTON,                    )
                                 )
    Plaintiff                    )
                                 )
                                 )
    v.                           )     DOCKET NO. CV-20-
                                 )
STATE OF MAINE,                  )
                                 )
    Defendant                    )
              Plaintiff’s Complaint and Jury Trial Request

      NOW COMES Plaintiff, Joyce Felton, by and through counsel, Sarah A.

Churchill, Esq., and complains against Defendant as follows:

                                    PARTIES

      1.    Plaintiff, Joyce Felton, is a resident of the town of Newport News,

            Virginia.

      2.    Defendant is the State of Maine.

                                JURISDICTION

      3.    The Court has original jurisdiction under 28 U.S.C. §1331.

                                     VENUE

      4.    Venue is proper in this Court pursuant to 28 U.S.C. §1391 whereas a

            substantial part of the events or omissions giving rise to Plaintiff’s

            Claims occurred while she was domiciled in this Court’s District.


                                         1
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 2 of 14        PageID #: 2




                         STATEMENT OF FACTS

    5.    Plaintiff identifies as an African American woman.

    6.    Plaintiff began working for the State of Maine in October of 2016.

    7.    Plaintiff’s work began in the ASPIRE office of the Maine Department

          of Health and Human Services.

    8.    After a period of time Plaintiff transferred to the Bureau of Alcohol

          Enforcement.

    9.    While working the Bureau of Alcohol Enforcement Plaintiff brought

          forward complaints of a racially hostile work environment.

    10.   Those complaints were investigated and after the investigation

          Plaintiff was transferred to the Department of Administrative and

          Financial Services (hereinafter DAFS) in November or December of

          2017.

    11.   Plaintiff took a one month long leave of absence to deal with her

          mental health conditions that had been aggravated by the hostile work

          environment prior to starting her new position.

    12.   Plaintiff’s transfer to DAFS was a direct result of her complaints of a

          racially hostile work environment and the investigation that followed.

    13.   Plaintiff’s position in DAFS was a that of an Office Associate II.

    14.   When Plaintiff reported to work at DAFS issues began immediately.



                                       2
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 3 of 14           PageID #: 3




    15.   A temporary worker was tasked with training Plaintiff.

    16.   The temporary worker had believed that she was going to get the

          position Plaintiff was filling up until the time that Plaintiff reported to

          work at DAFS.

    17.   Plaintiff was called Norbit by coworkers.

    18.   Norbit is an African American character played by Eddie Murphy

          who is a morbidly obese manly appearing woman.

    19.   Plaintiff believed that this name calling was an insult and related to

          her race.

    20.   Plaintiff reported the name calling to her supervisor , Erica Ouellette,

          who laughed about it.

    21.   Plaintiff received a card with a black dog on the front that she

          believed was related to her race because other co-workers did not

          receive the same card.

    22.   Plaintiff was regularly referred to as being an Oreo which she believes

          was related to her race.

    23.   One day a man came into the office and called Plaintiff a nigger.

    24.   Plaintiff reported this to Erica Ouellette.

    25.   Erica Ouellette reviews surveillance footage in an attempt to identify

          the man but was unable to identify him.



                                        3
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 4 of 14         PageID #: 4




    26.   This individual returned to the office on a different day and Plaintiff

          again alerted Erica Ouellette.

    27.   Ms. Ouellette refused to follow up with attempts to identify the

          individual further.

    28.   During her time at DAFS Plaintiff’s training was inconsistent and

          contradictory.

    29.   Plaintiff was not given the proper tools needed to do her job.

    30.   For example, Plaintiff was not given her own email address or log in

          to the TAMS system.

    31.   Plaintiff was micromanaged regarding her work tasks and was told

          inconsistent instructions for completing her tasks.

    32.   Plaintiff’s co-workers were not subjected to the same micromanaging;

          inconsistent instructions and contradictory training that she was given.

    33.   Furthermore, Plaintiff’s co-workers were not denied the tools the

          needed in order to complete their jobs.

    34.   Plaintiff has diagnosed mental health conditions to include

          agoraphobia and anxiety.

    35.   Defendant was aware of these conditions because Plaintiff had taken a

          leave of absence to treat them in the aftermath of the initial

          investigation into a racially hostile work environment listed above.



                                       4
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 5 of 14        PageID #: 5




    36.   Plaintiff made Defendant aware of how the work environment

          including the incongruent training, inconsistent instructions,

          treatment, and racial animus were exacerbating her mental health

          conditions.

    37.   Plaintiff also made Defendant aware of what Plaintiff needed for

          accommodations to be successful in her position.

    38.   On March 30, 2018 Plaintiff had a medical episode at work which was

          triggered by the smell of marijuana that was present in a workplace

          bathroom.

    39.   Plaintiff was taken to the hospital and treated.

    40.   Plaintiff filed a complaint again about how she was being treated.

    41.   Plaiting was then told that there were complaints about her job

          performance and she was being removed from her position.

    42.   Defendant indicated that they would work with Plaintiff to find her a

          new position.

    43.   Plaintiff followed the directions she received from Human Resources

          to find a new position.

    44.   There were dozens of open positions at this time.




                                       5
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 6 of 14          PageID #: 6




    45.   Plaintiff received a letter on April 25, 2018 indicating that there were

          no open positions available for her and since she was unable to

          perform her job she was being terminated.

    46.   Plaintiff has fully complied with the procedural requirements of 5

          M.R.S.A. §4622(1)(A).

    47.   Plaintiff has complied with the requirements of 42 U.S.C. §2000e-5.

                                    Count 1

           Maine Human Rights Act: Disability Discrimination

    48.   Plaintiff realleges and incorporates by reference the allegations set

          forth in the paragraphs above.

    49.   Plaintiff is a member of a protected class in that she has a disability.

    50.   Plaintiff suffers from mental illness.

    51.   Defendant was on notice about Plaintiff’s disability.

    52.   Plaintiff was able to perform the essential functions of her position.

    53.   Plaintiff made clear to Defendant that she required reasonable

          accommodations in her job for her disability.

    54.   Defendant refused to give Plaintiff a reasonable accommodation.

    55.   Defendant terminated Plaintiff because of her disability.

    56.   Plaintiff’s disability was the motivating factor behind her termination.




                                        6
 Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 7 of 14           PageID #: 7




      57.    Plaintiff’s disability was the motivating factor behind Defendant’s

             unwillingness to follow through in finding her an alternative position.

      58.    As a result of the discriminatory treatment, Plaintiff suffered damages.

      59.    Defendant acted with malice and reckless indifference to Plaintiff’s

             protected civil rights. Defendant was motivated by discriminatory

             intent.

      60.    Defendant discriminated against plaintiff in violation of the Maine

             Human Rights Act, 5 M.R.S.A. § 4572.

      61.    Plaintiff has fully complied with the procedural requirements of 5

             M.R.S.A. §4622(1)(A).

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     Declare Defendant’s actions unlawful;

      b.     Award Plaintiff damages;

      c.     Award Plaintiff reasonable attorney’s fees, costs, and interest;

      d.     Order Defendant to reinstate Plaintiff or, in lieu, of reinstatement

order back and front pay;

      e.     Award all allowable penalties, nominal and statutory damages; and

      f.     Such further relief as the Court deems proper and just.



                                          7
 Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 8 of 14           PageID #: 8




                                       Count 2

                Maine Human Rights Act: Racial Discrimination

      62.    Plaintiff realleges and incorporates by reference the allegations set

             forth in the paragraphs above.

      63.    Plaintiff is a member of a protected class in that she is African

             American.

      64.    Plaintiff satisfactorily preformed all of her job duties.

      65.    Defendant terminated Plaintiff’s employment.

      66.    Defendant showed a preference for white employees over Plaintiff.

      67.    As a result of the discriminatory treatment, Plaintiff suffered damages.

      68.    Defendant acted with malice and reckless indifference to Plaintiff’s

             protected civil rights. Defendant was motivated by discriminatory

             intent.

      69.    Defendant discriminated against plaintiff in violation of the Maine

             Human Rights Act, 5 M.R.S.A. § 4572.

      70.    Plaintiff has fully complied with the procedural requirements of 5

             M.R.S.A. §4622(1)(A).

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:



                                           8
 Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 9 of 14          PageID #: 9




      a.    Declare Defendant’s actions unlawful;

      b.    Award Plaintiff damages;

      c.    Award Plaintiff reasonable attorney’s fees, costs, and interest;

      d.    Order Defendant to reinstate Plaintiff or, in lieu, of reinstatement

order back and front pay;

      e.    Award all allowable penalties, nominal and statutory damages; and

      f.    Such further relief as the Court deems proper and just.

                                      Count 3

                   Violation of 5 M.R.S.A §§4572(E); 4633(1)

      71.   Plaintiff herein repeats, realleges and incorporates each and every

            allegation and averment contained in foregoing paragraphs as if fully

            set forth herein.

      72.   Plaintiff was unlawfully discriminated against because she reported

            conduct that she reasonably believed to be unlawful employment

            discrimination in violation of the Maine Human Rights Act, as well as

            participated in related investigations.

      73.   Plaintiff has fully complied with the procedural requirements of 5

            M.R.S.A. §4622(1)(A).




                                         9
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 10 of 14            PageID #: 10




      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     Declare Defendant’s actions unlawful;

      b.     Award Plaintiff damages;

      c.     Award Plaintiff reasonable attorney’s fees, costs, and interest;

      d.     Award all allowable penalties, nominal and statutory damages; and

      e.     Such further relief as the Court deems proper and just.

                                       Count 4

                    Disability Discrimination - 42 U.S.C. §12112

      74.    Plaintiff herein repeats, realleges and incorporates each and every

             allegation and averment contained in foregoing paragraphs as if fully

             set forth herein.

      75.    The Americans with Disabilities Act (“ADA”) prohibits

             discrimination on the basis of a disability in regard to hiring,

             advancement, termination and the general conditions and privileges of

             employment.

      76.    Plaintiff is a person with a disability within the meaning of ADA due

             to her diagnosis of a mental health condition, which affected one or

             more of her major life activities



                                          10
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 11 of 14           PageID #: 11




      77.    Defendant is an employer subjected to the ADA.

      78.    Defendant was on notice about Plaintiff’s disability.

      79.    Defendant did not accommodate Plaintiff’s disability.

      80.    Defendant treated Plaintiff differently in the termination from and

             terms and conditions of her employment on the basis of her disability.

      81.    As a result of Defendant’s violation of the ADA, Plaintiff suffered

             injury and damages and is entitled to relief.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     Declare Defendant’s actions unlawful;

      b.     Award Plaintiff damages;

      c.     Award Plaintiff reasonable attorney’s fees, costs, and interest;

      d.     Order Defendant to reinstate Plaintiff or, in lieu, of reinstatement

order back and front pay;

      e.     Award all allowable penalties, nominal and statutory damages; and

      f.     Such further relief as the Court deems proper and just.




                                          11
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 12 of 14          PageID #: 12




                                      Count 5

                    Race Discrimination – 42 U.S.C. §2000e-2

      82.    Plaintiff herein repeats, realleges and incorporates each and every

             allegation and averment contained in foregoing paragraphs as if fully

             set forth herein.

      83.    The Civil Rights Act prohibits discrimination on the basis of race or

             color in regard to hiring, advancement, termination and the general

             conditions and privileges of employment.

      84.    Plaintiff is an African-American.

      85.    Plaintiff’s race and color were known to Defendant.

      86.    Defendant discrimination against Plaintiff on the basis of her race by

             not properly investigating and dealing with her complaints of a

             racially hostile work environment and by not finding her a position in

             another department in March and April of 2018.

      87.    As a result of Defendant’s conduct Plaintiff suffered damages and is

             entitled to relief.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

             a.     Declare Defendant’s actions unlawful;



                                         12
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 13 of 14               PageID #: 13




              b.    Award Plaintiff damages;

              c.    Award Plaintiff reasonable attorney’s fees, costs, and interest;

              d.    Order Defendant to reinstate Plaintiff or, in lieu, of

           reinstatement order back and front pay;

              e.    Award all allowable penalties, nominal and statutory damages;

           and

              f.    Such further relief as the Court deems proper and just.

                                         Count 6

                       Retaliation under the Civil Rights Act

     88.      Plaintiff herein repeats, realleges and incorporates each and every

              allegation and averment contained in foregoing paragraphs as if fully

              set forth herein.

     89.      Plaintiff made complaints about a racially hostile work environment

              which constitute protected activity under Federal law.

     90.      Defendant was aware of Plaintiff’s protected activity because they

              fielded Plaintiff’s complaints.

     91.      Plaintiff suffered an adverse employment action in that she was

              terminated from her job.

     92.      Plaintiff protected activity occurred just prior to her termination and

              therefore was the cause her termination.


                                           13
Case 1:20-cv-00369-DBH Document 1 Filed 10/12/20 Page 14 of 14               PageID #: 14




      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

             a.     Declare Defendant’s actions unlawful;

             b.     Award Plaintiff damages;

             c.     Award Plaintiff reasonable attorney’s fees, costs, and interest;

             d.     Order Defendant to reinstate Plaintiff or, in lieu, of

          reinstatement order back and front pay;

             e.     Award all allowable penalties, nominal and statutory damages;

          and

             f.     Such further relief as the Court deems proper and just.

                                 JURY REQUEST

      Plaintiff hereby requests a jury trial.

Dated at Portland, Maine this 12th day of October, 2020.

                                                By: Nichols & Churchill, PA
                                                ___/s/ Sarah A. Churchill__
                                                Sarah A. Churchill, Esq.
                                                Maine Bar No. 9320
                                                Attorney for Plaintiff

                                                NICHOLS & CHURCHILL, PA
                                                1250 Forest Avenue
                                                Portland, ME 04103
                                                (207)879-4000
                                                schurchill@nicholschurchill.com


                                           14
